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                                                        Exhibit A to the Complaint
Location: Dallas, TX                                                                                     IP Address: 97.99.46.6
Total Works Infringed: 51                                                                                ISP: Spectrum
 Work        Hash                                        Site                UTC             Published         CRO App. File      CRO Number
                                                                                                               Date
 1           6739A9370F07E88D3ED50D0232EFB3C2EFE6ECC4    Vixen               07/06/2018      01/09/2018        01/15/2018         PA0002070945
                                                                             00:01:54
 2           05A7B52E88CC9418AD100770A8B91C7FCBB1C243    Blacked Raw         05/07/2018      04/22/2018        05/24/2018         PA0002101381
                                                                             00:28:21
 3           065ECDC9915AB2E005670678E0228FD89F40C1DE    Vixen               10/03/2017      10/01/2017        10/10/2017         PA0002086155
                                                                             00:15:28
 4           154B4A69FFE2BB86ED95D4CCCF1E2B95252B7179    Tushy               07/15/2018      07/15/2018        07/19/2018         16822146803
                                                                             20:37:31
 5           15767B4CF1BDB5ADD8DC3544393A9C265AFAA5B5 Blacked                12/17/2017      12/16/2017        01/24/2018         PA0002101762
                                                                             22:20:14
 6           17BF15EC3D53412E81C27027F379A0E1884268A5    Tushy               01/31/2018      01/31/2018        02/20/2018         PA0002104182
                                                                             20:13:41
 7           1955DF5BFBEC5C70C682AE206E2209755F572760    Blacked             06/19/2017      06/14/2017        07/07/2017         PA0002070824
                                                                             02:56:29
 8           1B2AFAAC46BCC7469CA7827791B34D374375CBC5    Blacked             02/20/2018      02/19/2018        03/02/2018         PA0002104735
                                                                             06:32:07
 9           1D2FD532FA5B617A184A7544DBE4E872B1D9D43F    Vixen               01/27/2018      01/24/2018        03/02/2018         PA0002104759
                                                                             23:43:38
 10          1ED7894C730F91D284F9451A87ECDC8F5187BF50    Blacked Raw         05/12/2018      05/12/2018        05/24/2018         PA0002101380
                                                                             19:25:44
 11          23C75D98A22B6821F255E85F2ED58CC5CEC8E2DD    Blacked             10/04/2017      09/27/2017        10/10/2017         PA0002057451
                                                                             00:15:54
 12          31577E16E1B68BF13F30BE538E1BAF66E224726A    Tushy               08/20/2017      07/30/2017        08/11/2017         PA0002075051
                                                                             04:10:19
 13          3945FEF635D609C3FB77DD4762FC2570E7E12D7C    Blacked             05/21/2017      05/20/2017        06/22/2017         PA0002039289
                                                                             20:55:02
 14          3E4D1B5168D11A249867DAEBCF3B524396BF2FF4    Blacked Raw         03/11/2018      03/08/2018        03/15/2018         16490950909
                                                                             22:19:42
 15          57D55CF2E1C375BBFAB76A1226219452189BF550    Blacked Raw         12/17/2017      12/03/2017        01/04/2018         PA0002097460
                                                                             21:55:33
 16          59E3177605E126975D3EFD1D354C228B7D3751BA    Blacked             07/15/2018      07/14/2018        07/19/2018         16822264220
                                                                             22:41:05
                     Case 3:18-cv-02146-D Document 1-1 Filed 08/15/18    Page 2 of 3 PageID 10
Work   Hash                                       Site          UTC          Published    CRO App. File   CRO Number
                                                                                          Date
17     5B12F64BD098DA3159668012BD07910FBEA288C9   Blacked       05/29/2017   05/25/2017   06/22/2017      PA0002039290
                                                                20:15:39
18     5EBAA857DB4CB94E7B579561C0FBE666094E0A10   Blacked Raw   06/17/2018   06/16/2018   06/30/2018      16761900312
                                                                21:51:08
19     5FC784E1FED4287EBAD16BC9F3C36F204FCA928E   Tushy         05/29/2017   05/26/2017   06/22/2017      PA0002039288
                                                                23:43:37
20     6485D2C06BE7023990B69BE93812D5066B963ED4   Blacked       04/21/2018   04/20/2018   05/23/2018      PA0002101307
                                                                02:57:29
21     65CF8DA2D031F334F39B20014B15DA107B9EAA15   Blacked       09/05/2017   08/08/2017   08/18/2017      PA0002077679
                                                                00:18:22
22     6677A34981ADD5ECD31DE1CA597F1FFC7F7D5D77   Blacked       05/22/2018   05/20/2018   06/30/2018      16761912270
                                                                03:21:29
23     7033337C9F53A2B227E7CDAD29B4166188C53E5C   Blacked       04/04/2018   03/31/2018   04/12/2018      PA0002091516
                                                                00:17:37
24     7ABEF2110AAB24D772A31B91D994EE0E2052E873   Blacked       06/17/2018   06/14/2018   06/30/2018      16758501749
                                                                22:26:49
25     8031B4A7A5CFCECBC796D4772440BFC5016C11AA   Blacked       06/25/2018   06/24/2018   07/26/2018      PA0002112154
                                                                02:11:01
26     842B57BB37085FDEB841E25E2337B90905E20C4E   Vixen         09/22/2017   09/21/2017   10/10/2017      PA0002086168
                                                                00:14:26
27     8B52FD7A90E10A36119BF71791AE13499BB0C147   Tushy         05/04/2017   03/27/2017   06/05/2017      PA0002050767
                                                                09:00:42
28     8B9BBD0153F86F65E3FEA9D143443E7D30E65D79   Tushy         08/10/2017   08/09/2017   08/17/2017      PA0002077673
                                                                01:32:04
29     8CFDB02221651C364F6C9ED5B81AE5E08FA06FA1   Vixen         06/11/2018   06/08/2018   06/30/2018      16761912458
                                                                06:35:51
30     8D2EFF22392159795F468C91719C1C252C255924   Blacked Raw   06/24/2018   03/23/2018   04/07/2018      16490992283
                                                                19:25:43
31     8F55C47AC0C8FED6F30E2C094965B3CF4749FA41   Vixen         08/31/2017   08/27/2017   09/15/2017      PA0002052843
                                                                23:07:54
32     98F09643766D5D561E986EFEB5BBA4F6BE98517E   Tushy         06/28/2018   06/25/2018   07/15/2018      16822264279
                                                                04:36:45
33     9A8C78601A0284563EF67CC7077F8E8078462229   Blacked       06/26/2017   06/24/2017   07/07/2017      PA0002070822
                                                                19:46:43
34     9D5513F0563852D9FB73EDC7D6318A6BB04334D9   Tushy         09/19/2017   09/18/2017   10/09/2017      PA0002086139
                                                                01:20:50
                     Case 3:18-cv-02146-D Document 1-1 Filed 08/15/18    Page 3 of 3 PageID 11
Work   Hash                                       Site          UTC          Published    CRO App. File   CRO Number
                                                                                          Date
35     9E23D180CE13A745D888960C51567F094143E3F7   Tushy         06/25/2018   04/21/2018   05/23/2018      PA0002101309
                                                                02:10:21
36     ADE1368B6E46C601134E08553491193B57B6B7C9   Blacked Raw   03/18/2018   03/18/2018   04/07/2018      16490950543
                                                                22:52:18
37     C30C57082B7ED4DE9E6DF80AF81583242AB65A61   Blacked Raw   03/26/2018   01/17/2018   01/24/2018      PA0002101760
                                                                23:10:18
38     CA0560D2CC3CE0546C8A38C8D7A55089AE430A8E   Blacked       02/03/2018   01/30/2018   03/01/2018      PA0002079186
                                                                21:35:57
39     DFCCBFB7EED852E6617D609C4731A1744A9862A9   Tushy         05/21/2018   05/16/2018   05/19/2018      16665887690
                                                                03:35:50
40     E052A332B9097369140ED290E5B7EE8CF69FB2A1   Tushy         06/17/2018   06/15/2018   06/30/2018      16758501818
                                                                21:14:32
41     E336DA33BF1D439EAEA80D679CBB3A1C5784C7EF   Blacked Raw   12/19/2017   12/08/2017   01/02/2018      PA0002097423
                                                                01:56:21
42     E4BB4B0185636612E25A2955F474B4494789F63C   Blacked       10/10/2017   10/07/2017   10/19/2017      PA0002058300
                                                                02:04:01
43     E5A20F3F6CD2319AE627884CA99BE8CAC0049916   Vixen         06/24/2018   03/15/2018   04/07/2018      16490992332
                                                                19:35:18
44     E71C33A3851296B070718F00435BA9A8256CC54C   Vixen         08/22/2017   08/22/2017   09/15/2017      PA0002052852
                                                                23:47:03
45     EBBFDE5C33CC573DC3F103765B8680C1F562BE87   Blacked       01/16/2018   01/15/2018   01/24/2018      PA0002101768
                                                                02:14:52
46     EC033492E93572F9A38F165C56FC88DDD20FCFE0   Tushy         03/13/2018   03/02/2018   03/15/2018      16490951027
                                                                03:03:28
47     F011B5C1E76C5CD712DADA5DF9CE66184EAA72B2   Blacked       10/24/2017   10/17/2017   11/27/2017      PA0002097981
                                                                23:35:56
48     F0310DE0CA3D0D5F0B9E1A72B974400A25224DCB   Blacked       08/26/2017   08/23/2017   10/10/2017      PA0002086163
                                                                18:32:02
49     FC6C3F4348C53D3DC1DDD5949FAF4EB3399C6363   Tushy         05/12/2018   05/11/2018   05/24/2018      PA0002101379
                                                                03:53:26
50     FCF51DFF0FB1B972977653287601CFA39B5FBB94   Tushy         04/13/2018   04/11/2018   05/23/2018      PA0002101305
                                                                00:38:57
51     FDA6F2B654640FD8E18B02888B218DC0E952DCD8   Vixen         02/03/2018   01/29/2018   03/02/2018      PA0002104878
                                                                04:58:07
